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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION


 JOHN LEWIS,                                                )
                                                            )
                                      Plaintiff,            )
                                                            )
                                v.                          )    4:09-cv-76-SEB-WGH
                                                            )
 THOMAS McCRACKEN, JIM BENNETT, and                         )
 FRENCH LICK RESORT CASINO,                                 )
                                                            )
                                      Defendants.           )



                               ENTRY ON VARIOUS MOTIONS

                                           Introduction

            This matter is before the Court on the Motion for Summary Judgment filed by

 defendants, J. Michael Bennett and French Lick Resorts & Casino, LLC, on May 4, 2010,

 (Docket Nos. 38-39); defendant Thomas McCracken’s Joinder in Motion for Summary

 Judgment filed May 4, 2010, (Docket No. 40); and Plaintiff John Lewis’ Motion for Partial

 Summary Judgment filed May 4, 2010, (Docket Nos. 41-42, 47). Also before the Court are

 defendant Thomas McCracken’s Motion to Strike the Second Affidavit of John Lewis, filed

 June 18, 2010, (Docket No. 54), and defendant French Lick Resort Casino’s Motion for

 Entry of Default Judgment on Resort’s Trespass Claim filed January 7, 2011,1 (Docket No.

 62).



        1
     The court now DENIES the Motion for Entry of Default Judgment. In the court’s prior order
 of August 27, 2010, the court granted Lewis’s Motion to Set Aside Default provided that Lewis file
 an Answer to the Counterclaim. Such an Answer was, in fact, filed. (See Docket No. 33).
 Therefore, the Entry of Default is moot, and a Default Judgment is unwarranted.
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                                      Factual Background

        The evidence viewed in a light most favorable to the non-moving parties establishes

 as follows:

        Plaintiff John Lewis (“Lewis”) is the pastor of Old Paths Baptist Church, an

 “unregistered” Baptist church. (Deposition of John Lewis (“Lewis Dep.”) at 13-14, 169).

 Old Paths Baptist Church is located in Campbellsburg, Washington County, Indiana.

 (Lewis Dep. at 14). Lewis periodically leads members of his church and others in public

 demonstrations against what they believe to be sinful activity. (Lewis Dep. at 186-187).

        On June 5, 2007, Lewis led a group of demonstrators who targeted the French Lick

 Resort Casino (“Resort”) for its involvement in “gambling, sodomy, abortion, weak-kneed

 Baptists and other various and sundry sins.” (Second Affidavit of John Lewis (“Second

 Lewis Aff.”) ¶ 2).2 The protestors based their actions and their views on their

 interpretation(s) of the Bible. (Affidavit of John Lewis (“Lewis Aff.”) ¶ 14). Lewis and

 his associates staged their demonstration on a sidewalk located at the entrance to the

 Casino, more specifically, at the intersection of State Road 56, State Road 145, and the

    2
     Defendant Thomas McCracken filed a Motion to Strike various portions of the Second Affidavit
 of John Lewis. Having examined said affidavit, the Court now GRANTS in part and DENIES in
 part the Motion to Strike. At paragraph 3 of the Second Affidavit, Lewis indicates that he has
 traveled on State Road 56 in the past. Therefore, he has demonstrated personal knowledge about
 State Road 56, making admissible his statements about his prior use of the state road, the ways in
 which to properly cross it, and the direction of various landmarks located along side it. However,
 the portions of Paragraphs 4 and 5 discussing the location of the right-of-way are legal conclusions
 that must be stricken. The Motion to Strike is thus GRANTED. Paragraphs 6-10 include
 information about Lewis’s personal familiarity with State Road 56; the Motion to Strike those
 paragraphs is DENIED. Paragraph 13 states a legal conclusion; the Motion to Strike is therefore
 GRANTED. Paragraphs 18-28 detail facts relating to defendant Bennett’s participation in the
 incident; the Motion to Strike is therefore DENIED. The Motion to Strike is GRANTED with
 respect to Paragraphs 29 and 30 which contain legal conclusions concerning a traditional public
 forum based on a comparison of the incident at issue here to that addressed by a Utah Court.

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 entrance driveway into the Resort in French Lick, Indiana (“the Intersection”). (Complaint

 at. 2; Lewis Dep. at 70-71; Brief in Support of Motion for Summary Judgment at Exs. 1,

 4.1)(State Road 145 terminates at the entrance to the Resort. The driveway/roadway into

 the Resort intersects with State Road 56 in a manner that could be deemed a continuation of

 State Road 145). A diagram of the Intersection depicting the details of the subject location

 is attached to this Order.3

         The demonstration commenced on the sidewalk located at the southwest corner of

 the Intersection. (Lewis Dep. at 70-71; Brief in Support of Motion for Summary Judgment

 at Exs. 1, 4.1). At the time of the demonstration, each corner of the Intersection included

 an area of sidewalk (Brief in Support of Motion for Summary Judgment at Exs. 1, 4.1) as

 well as   traffic signals and crosswalks. (Id.).

         The southwest corner of the Intersection where Lewis et al. were demonstrating was

 owned by French Lick Real Estate Holdings, LLC (the “Holding Company”). (Affidavit of

 Christopher Leininger (“Leininger Aff.”) ¶ 4). The Holding Company is an affiliated

 company with the Resort, both being wholly owned by Blue Sky Resorts, LLC. (Leininger

 Aff. ¶ 3). The Sidewalk and portions of the adjacent land fell within the planned public

 right of way of State Road 56, but, at the time of the demonstration, the Holding Company




     3
      The diagram was submitted as an exhibit to the Motions(s). However, it fails to include two
 salient details as they existed on the day of the demonstration. First, the sidewalk ended on the west
 side of State Road 56 at the intersection and did not proceed southwest along State Road 56 as
 shown in the diagram. Second, there were right-of-way markers in place on the day of the
 demonstration that are not visible on the diagram. The Court has added two X's to denote the areas
 where the demonstrations gathered, for ease of understanding.

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 had not yet transferred title to that parcel to the Town of French Lick.4 (Leininger Aff. ¶ 5).

 The land owned by the Holding Company contained concrete right-of way markers located

 on the Resort property, and the Sidewalk where Lewis was staging his protest lay between

 the right-of-way markers and State Road 56. (Second Lewis Aff. ¶ 11; Brief in Support of

 Motion for Summary Judgment at Ex. 4.1). Lewis maintains that the State Road 56 right-

 of-way predated the development of the Resort by many years and that in the past he

 personally had walked along the northern shoulder of State Road 56 in the area of the

 Resort prior to the construction of the Resort. (Second Lewis Aff. ¶¶ 5-6). After the Resort

 was built, he and other pedestrians continued to walk from time to time on the shoulder and

 grass along State Road 56 in front of the Resort. (Id. ¶ 7).

          At the time of the demonstration, Defendant Jim Bennett (“Bennett”) was employed

 by Resort as its Director of Security. (Complaint at 1). Also at the time of the

 demonstration, Defendant McCracken was Chief of Police with the French Lick Police

 Department. (Id. at 2). During the demonstration, McCracken and Bennett informed Lewis

 that they believed he was impermissably on the Resort’s property and requested that he

 leave the Resort’s property or face arrest for trespass. In that regard, they suggested that he

 could continue his demonstration on the opposite side of the street (i.e., the southeast side

 of State Road 56). (Lewis Dep. at 54). Lewis informed McCracken that he believed he

 was conducting his demonstration and exercising his First Amendment rights on a

 traditional public forum and that, in his view, the sidewalk was the best location for


      4
       Title to the land within the planned public right of way of State Road 56, including the
 Sidewalk, was transferred to the Town of French Lick by quitclaim deed on November 16, 2007.
 (Leininger Aff., ¶ 6; Leininger Aff. at Ex. A)

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 conveying his message. In addition, Lewis refused to leave unless threatened with arrest.

 (Lewis Aff. ¶ 17). McCracken informed Lewis that the Resort held title to the sidewalk;

 Lewis responded with quotes from Supreme Court decisions regarding demonstrations on

 sidewalks, reiterating his view that the sidewalk – indeed, this sidewalk – was a

 “quintessential public forum.” (Id. ¶ 18-19). Chief McCracken retreated to confer with

 Resort officials, seeking instructions as to what he should do next. (Id. ¶ 20). Shortly

 thereafter, McCracken returned with Bennett to the scene of the demonstration where

 Bennett again instructed Lewis to leave. (Second Lewis Aff. ¶ 26).

        Lewis agreed to leave the Sidewalk and to continue the demonstration on the

 southeast side of State Road 56, on the sidewalk across the street from the Resort.

 (“Plaintiff’s Answers to Defendant, Thomas McCracken’s First Set of Interrogatories to

 Plaintiff,” answer to Interrogatory No. 13). There, Lewis resumed the demonstration,

 which lasted approximately half an hour. (Id.).

        Believing his Constitutional rights to have been violated by Bennett and

 McCracken's order to him and his followers to leave the Sidewalk on the southwest corner

 of State Road 56, Lewis filed this suit against Defendants, pursuant to 42 U.S.C. §§ 1983

 and 1985. Lewis claims that his having been located on a sidewalk which was a traditional

 public forum, and being threatened with arrest if he did not move, the threat of arrest was a

 violation of his First Amendment rights. Lewis has sued McCracken under Section 1983,

 alleging that McCracken's threats of arrest amounted to state action occurring under color

 of law. He further contends that Bennett and the Resort are also liable under Section 1983

 because they acted in concert with McCracken to deprive Lewis of his Constitutional


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 entitlements. Finally, Lewis asserts that all three defendants are guilty of conspiracy to

 violate his rights under Section 1985.

        Bennett and the Resort have filed this Motion for Summary Judgment on the

 following grounds: 1) that the sidewalk was private property owned by the Resort and that,

 therefore, no violation of Lewis's First Amendment rights occurred when he was ordered to

 leave; 2) that the portion of the Sidewalk on which the demonstration was staged was not a

 traditional public forum because it was not a part of the town of French Lick’s

 transportation grid; 3) that, even if a viable cause of action under Section 1983 existed

 based on their violations of Lewis’s First Amendment rights, Defendants are entitled to

 prevail on a good faith defense; 4) that Lewis’s claim, pursuant to Section 1985, is not

 viable in any event because there has been no showing of religious animus; 5) that Lewis

 has failed to demonstrate that he suffered any damages as a consequence of his

 Constitutional deprivations; and 6) that the Resort is entitled to judgment as a matter of law

 on its trespass counterclaim.

        McCracken filed his Motion for Summary Judgment joining defendants’ motion and

 adding the defense of qualified immunity.

        Lewis has also filed a Motion for Partial Summary Judgment, claiming: 1) that the

 sidewalk on which he and his group were demonstrating was a traditional public forum; 2)

 that McCracken was acting under color of state law; and 3) that Lewis is entitled to

 judgment as a matter of law on his 1983 claim against McCracken.




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        The Court, being duly advised, now DENIES in part and GRANTS in part

 defendants’ Motions for Summary Judgment, and GRANTS Lewis’s Motion for Partial

 Summary Judgment.

                                        Legal Analysis

        I.     Standard of Review

        In ruling on a motion for summary judgment, all facts and reasonable inferences

 must be construed in favor of the non-moving party. Magin v. Monsanto Co., 420 F.3d

 679, 686 (7th Cir. 2005). We do not evaluate the weight of the evidence, judge the

 credibility of witnesses or determine the ultimate truth of the matter; rather, we determine

 whether there exists a genuine issue of triable fact. Anderson v. Liberty Lobby, 477 U.S.

 242, 245-50, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). Summary judgment is proper if

 “the pleadings, depositions, answers to interrogatories, and admissions on file, together

 with the affidavits, if any, show that there is no genuine issue as to any material fact and

 that the moving party is entitled to judgment as a matter of law.” Magin, 420 F.3d at 686

 (citing Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S. Ct.

 2548, 91 L. Ed. 2d 265 (1986)).

        The moving party bears the initial burden of demonstrating that these requirements

 have been met; it may discharge this responsibility by showing “that there is an absence

 of evidence to support the non-moving party’s case.” Celotex, 477 U.S. at 323. To

 overcome a motion for summary judgment, the non-moving party must come forward

 with specific facts demonstrating that there is a genuine issue for trial. Matsushita Elec.

 Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538


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 (1986). The existence of a mere scintilla of evidence, however, is insufficient to fulfill

 this requirement. Anderson, 477 U.S. at 251-52. The nonmoving party must show that

 there is evidence upon which a jury reasonably could find for the plaintiff. Id. If it is

 clear that a plaintiff will be unable to satisfy the legal requirements necessary to establish

 its case, summary judgment is not only appropriate, but also required. See Celotex, 477

 U.S. at 322.

        II.     Discussion

        A. Lewis’s 1983 Claims

        Lewis has brought his claims against McCracken asserting that McCracken was a

 public official acting under state law to deprive Lewis of his Constitutional rights, pursuant

 to 42 U.S.C. § 1983. He has sued the private defendants under this statute as well. In

 analyzing Lewis’s 1983 claims, we must first determine whether Chief McCracken violated

 Lewis’s free speech rights under the First Amendment. If so, we next address whether

 McCracken is entitled to qualified immunity on this claim. In addition, we must decide

 whether the private defendants can be held liable under Section 1983.

        1. Section1983 Claim against Chief McCracken:

        Generally, a claim under 42 U.S.C. § 1983 must allege that the conduct complained

 of occurred at the hands of a person acting under color of state law, and that the challenged

 conduct deprived the plaintiff of rights, privileges, or immunities secured by the

 Constitution or laws of the United States. Parratt v. Taylor, 451 U.S. 527, 535, 101 S.Ct.

 1908, 68 L.Ed.2d 420 (1981). Here, no dispute exists regarding the fact that, as chief of

 police, McCracken was acting under color of law in ordering Lewis et al. off the sidewalk


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 which they were occupying in conducting their demonstration. Furthermore, it is clear that

 the signs displayed by the protestors and the purpose of their gathering implicated “matters

 of public concern,” as defined by the Supreme Court as recently as its decision in Snyder v.

 Phelps, --- U.S. --- (2011). It is also well established that “oral and written dissemination . .

 . [of] religious views and doctrines is protected by the First Amendment.” Heffron v. Int’l

 Soc. for Krishna Conciousness, Inc., 452 U.S. 640, 647, 101 S.Ct. 2559, 69 L.Ed.2d 298

 (1981). Demonstrations in public places are entitled to receive First Amendment protection

 as well. Grayned v. City of Rockford, 408 U.S. 104, 116, 92 S.Ct. 2294, 33 L.Ed.2d 222

 (1972). Thus, Lewis’s activity, whether construed as a demonstration or the dissemination

 of religious view and doctrines, is entitled to First Amendment protections. If Lewis can

 establish that McCracken’s actions violated these First Amendment rights, he has a viable

 Section 1983 claim.5

         Whether Lewis can establish that his First Amendment rights were violated depends

 in part on whether the sidewalk on which he was demonstrating was a public forum.

 “Under a Free Speech forum analysis, the forum category defines the level of scrutiny

 applicable to the challenged government action.” Milwaukee Deputy Sheriff’s Ass’n v.

 Clarke, 588 F.3d 523, 530 (7th Cir. 2009). Three distinct categories of forums have been

 recognized in terms of conducting this analysis: a traditional public forum, a designated

 public forum, and a nonpublic forum. Id. A traditional public forum is defined as a public


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       We note that Plaintiff was not actually arrested for protesting on the sidewalk in front of the
  Casino. He was merely threatened with arrest and, to avoid that consequence, he complied with
  McCracken’s demands by moving his protest across the street. However, “a realistic threat of arrest
  is enough to chill First Amendment rights,” creating a justiciable controversy. Hodgkins ex rel.
  Hodgkins v. Peterson, 355 F.3d 1048, 1056 (7th Cir. 2004).

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 space such as a street or a park that has long been used and open for expressive activity.

 The government’s exclusion of an individual from a traditional public forum is subject to

 strict scrutiny, meaning that the exclusion must be narrowly tailored to serve a compelling

 state interest. Id.

        Lewis contends that the sidewalk he was forced to abandon was such a traditional

 public forum, and that McCracken’s order directing him to leave that place does not

 withstand strict scrutiny as there was no compelling state interest in removing him.

 McCracken and the other defendants rejoin that the sidewalk was privately owned at the

 time of the incident and that it, therefore, was not a traditional public forum. A review of

 the relevant case law establishes that Defendants’ argument is unavailing.

        The Supreme Court has not provided lower courts with an illustrative, not to

 mention exhaustive, list of areas that qualify as traditional public forums. However, it has

 indicated that certain areas such as open spaces, meeting halls, parks, street corners, and

 other public thoroughfares qualify as such. See Lehman v. City of Shaker Heights, 418 U.S.

 298, 303, 94 S.Ct. 2714, 41 L.Ed.2d 270 (1974). With specific reference to public streets

 and sidewalks, the Supreme Court, citing a 1939 ruling, held that "'[t]ime out of mind'

 public streets and sidewalks have been used for public assembly and debate, the hallmarks

 of a traditional public forum.” Frisby v. Schultz, 487 U.S. 474, 480, 108 S.Ct. 2495, 101

 L.Ed.2d 420 (1988). No inquiry into the precise nature of a particular street is necessary

 because “wherever the title of streets and parks may rest, they have immemorially been

 held in trust for the use of the public and ... for purposes of assembly, communicating

 thoughts between citizens, and discussing public questions.” Id. (quoting Hague v. CIO,


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 307 U.S. 496, 515, 59 S.Ct. 954, 83 L.Ed. 1423 (1939). Consequently, “ [a]ll public

 sidewalks are held in the public trust and are properly considered a traditional public fora.”

 Ovadal v. City of Madison, Wisconsin, 416 F.3d 531, 536 (7th Cir. 2005). We turn next to

 the issue of whether Lewis’s demonstration occurred on a public sidewalk.

         Neither the Supreme Court nor the Seventh Circuit6 has, so far as we can tell, ever

 addressed whether a sidewalk located on private property adjacent to a public road qualifies

 as a traditional public forum for First Amendment Free Speech purposes. However, given

 the Supreme Court's strongly expressed commitment to protecting a speaker’s reasonable

 expectations that his speech will be protected, we have been provided helpful guidance. In

 United States v. Grace, the Supreme Court struck down a statute prohibiting leafleting and

 picketing on the sidewalks surrounding the Supreme Court, in part because there was “no

 separation” and “no indication” that a person had “entered some special type of enclave.”

 United States v. Grace, 461 U.S. 171, 177, 103 S.Ct. 1702, 75 L.Ed.2d 736 (1983). The

 Seventh Circuit applied this same rationale to a park, concluding that the sale of a .15 acre

 section of the public park to a private organization did not transform that privately-owned

 section into a non-public forum; the appellate court ruled that the parcel retained its public

 forum status despite being privately owned. Freedom from Religion Foundation, Inc. v.

 City of Marshfield, 203 F.3d 487 (7th Cir. 2000).




     6
       Defendants suggest that Chicago Pier v. Metropolitan Pier & Exposition Authority, 150 F.3d
  695 (7th Cir. 1998) is controlling. However, that case involved sidewalks along Navy Pier in
  Chicago, that is, sidewalks that were not at the intersection of two public roads. In fact, they were
  internal sidewalks providing only ingress and egress to the pier. In this case, the sidewalk is actually
  adjacent to a public road providing pedestrians access to a crosswalk over State Road 56.

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        Giving priority to the need for government to preserve and protect the reasonable

 expectations of a speaker, other circuit courts have ruled that privately owned sidewalks

 bordering public roads qualify as traditional public forums. The Tenth Circuit, for

 example, in Venetian Casino Resort, LLC v. Local Joint Exec. Bd. of Las Vegas, addressed

 the issue of “whether the sidewalk on private property that requires unobstructed pedestrian

 traffic is a public forum.” Venetian, 257 F.3d 937, 943 (10th Cir. 2001). There, the court

 concluded that such a sidewalk is, in fact, a public forum, reasoning that the sidewalk was a

 thoroughfare seamlessly connected to public sidewalks on either end and intended for

 general public use. It also explained that the sidewalk was “the only means for pedestrians

 to travel north or south along the Venetian’s side of the Las Vegas Boulevard, a busy multi-

 lane traffic artery.” Id. at 944.

        The Sixth Circuit reached a similar conclusion in United Church of Christ v.

 Gateway Economic Development Corp. of Greater Cleveland, Inc., 383 F.3d 449 (6th Cir.

 2004). There the court was asked to decide whether a privately-owned sidewalk that

 bordered a sports complex where the Cleveland Indians and Cleveland Cavaliers play ball

 was a traditional public forum. Explaining that the sidewalk looked and felt like a typical

 public sidewalk that blended into the urban grid and bordered a public road, and became a

 public thoroughfare, open to the public for general pedestrian passage, Id. at 452, the Sixth

 Circuit concluded that the otherwise private sidewalk was, in fact, a traditional public

 forum. Id.

        Other circuits have adopted this concept of a “thoroughfare,” as well. The Fourth

 Circuit explained that “[t]he typical traditional public forum is property which has the


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 physical characteristics of a public thoroughfare.” Warren v. Fairfax County, 196 F.3d

 186, 191 (4th Cir. 1999). And the Ninth Circuit noted that “[u]se of a forum as a public

 thoroughfare is often regarded as a key factor in determining public forum status.” ACLU

 of Nevada v. City of Las Vegas, 333 F.3d 1092, 1101 (9th Cir. 2003). Indiana state courts

 have also explained that the term, thoroughfare, “must include sidewalks as well as streets

 and highways.” LaPorte Civic Auditorium v. Ames, 641 N.E.2d 1045, 1047 (Ind. Ct. App.

 1995).

          Here, the undisputed facts establish that the sidewalk on which Lewis and his

 associates were protesting ran adjacent to State Road 56. A crosswalk and traffic signal

 designated the intersection marking the place for pedestrians to cross State Road 56 and

 State Road 145. The sidewalk in front of the Resort appears in all respects like the other

 sidewalk existing on the opposite side of the intersection. The right-of-way markers also

 denote a public right-of-way. Lewis testified that the area of shoulder along State Road 56

 has long been used by pedestrians as a means of traveling along State Road 56 to various

 parts of French Lick.7 Thus, we conclude that the sidewalk at issue here qualifies as a

 traditional public forum.

          This conclusion is consonant with the Supreme Court’s focus in Grace, namely the

 expectations of the person using the sidewalk to stage his protest. It is also consistent with




     7
      Indiana courts recognize that a right-of-way can be acquired by use, and that evidence of right-
  of-way markers as well as evidence that pedestrians have traveled along property adjacent to a road
  are all indicia of a public right-of-way. Contel of Indiana, Inc. v. Coulson, 659 N.E.2d 224, 228
  (Ind. Ct. App. 1995).

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 decisions from the other circuits, as we have explained, in particular those decision from

 the Fourth, Sixth, Ninth and Tenth Circuits as well as under Indiana law.

        Despite our conclusion that the sidewalk at issue here qualifies as a traditional public

 forum, McCracken can nonetheless escape liability if his directive to Lewis that he move

 his demonstration across the street withstands strict scrutiny; thus we ask: was the location

 restriction imposed on Lewis narrowly tailored to meet a compelling government interest?

 Clarke, 588 F.3d at 530. McCracken has made no attempt to demonstrate that a compelling

 government interest motivated his request to Lewis to move from the sidewalk where he

 was demonstrating. However, if the decision to force Lewis to move across the street

 amounted to nothing more than a content-neutral regulation of Lewis’s speech constituting

 a reasonable time, place, or manner regulation, then McCracken is entitled to avoid liability

 on this basis. Such regulations are permissible, however, only if they “are narrowly

 tailored to serve a significant government interest, and leave open ample alternative

 channels of communication.” Perry Educ. Ass'n v. Perry Local Educators' Ass'n, 460 U.S.

 37, 45, 103 S.Ct. 948, 74 L.Ed.2d 794 (1983). Again, Defendants have made no effort to

 demonstrate a “significant government interest” that prompted their directive to Lewis to

 move his protest demonstration across the street from the Resort. Without such a showing,

 Lewis has successfully established that he suffered a constitutional violation by Chief

 McCracken of his First Amendment Free Speech rights.

        2. Qualified Immunity

        We turn next to the issue of qualified immunity protections, if any, available to

 Chief McCracken. Qualified immunity shields McCracken from individual liability under


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 Section 1983 for actions taken by him in the course of his performance of his discretionary

 functions, unless his conduct violated clearly established statutory or constitutional rights

 of which a reasonable person would have known at the time. Harlow v. Fitzgerald, 457

 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). Under controlling qualified

 immunity case law, before a public official can be found liable, “[t]he contours of the right

 must be sufficiently clear that a reasonable official would understand that what he is doing

 violates that right.” Anderson v. Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d

 523 (1987). The Seventh Circuit has explained the meaning of a “clearly established” right

 as follows:

        [A] plaintiff need not always identify a closely analogous case; rather, he can
        establish a clearly established constitutional right by showing that the
        violation was so obvious that a reasonable person would have known of the
        unconstitutionality of the conduct at issue. Thus, binding precedent is not
        necessary to clearly establish a right. In fact, in the most extreme cases, an
        analogous case might never arise because the existence of the right was so
        clear, as a matter of the wording of a constitutional or statutory provision or
        decisions in other circuits or in the state courts, that no one thought it
        worthwhile to litigate the issue.

 Brokaw v. Mercer County, 235 F.3d 1000, 1022 (7th Cir. 2000)(internal citations and

 quotations omitted).

        Was Lewis’s protest entitled to Constitutional protections based on clearly

 established rights making a privately owned sidewalk adjacent to a public highway a

 traditional public forum? Obviously, at the time of Lewis’s protest, that First Amendment

 principle whereby a public sidewalk is deemed a traditional public forum was clearly

 established. But does the fact that the sidewalk was built on land belonging to a private

 owner change on analysis or our conclusion? As mentioned above, various circuit courts


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 have held that privately owned sidewalks can be deemed traditional public forums. Other

 circuit courts have ruled that, wherever there is a “thoroughfare,” a traditional public forum

 exists. While none of these rulings arose from Seventh Circuit caselaw, we are confident

 that the right to protest on a sidewalk adjacent to a public highway is clear enough not to

 require a specific decision from the Seventh Circuit before concluding that this was a

 clearly established right at the time of Lewis's protest. We repeat the controlling facts here

 for sake of clarity: the sidewalk was adjacent to State Road 56; the demonstration occurred

 at a busy intersection connected to a crosswalk where traffic was controlled by a traffic

 signal; the sidewalk lay within the right-of-way markers in a space regularly used by

 pedestrians to traverse the area along side State Road 56. Thus, in our view, a reasonable

 officer in Chief McCracken’s position should have known that the sidewalk was a

 traditional public forum and that persons using it for a public demonstration were entitled

 to First Amendment protection(s). Chief McCracken therefore is not immune to liability by

 action of the doctrine of qualified immunity.

        3. No Need to Show Actual Damages

        Defendants also contend that Plaintiff's Section 1983 claim fails for lack of evidence

 to show that Lewis suffered any actual damages. We need not dwell at length on this issue,

 however, as “[a] deprivation of First Amendment rights standing alone is a cognizable

 injury.” Rowe v. Shake, 196 F.3d 778, 781 (7th Cir. 1999). Though Lewis is not entitled to

 recover damages based on some abstract value or unspecified importance associated with

 this constitutional right, an injury to his First Amendment rights nonetheless may “be

 compensated through substantial money damages.” City of Watseka v. Illinois Public


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 Action Council, 796 F2d. 1547, 1559 (7th Cir. 1986). Furthermore, in a Section 1983 case,

 a jury is entitled to consider whether to award punitive damages to a prevailing plaintiff

 upon a showing that the defendants’ conduct was motivated by evil intent or callous

 indifference to Plaintiff’s federally protected rights. Marshall v. Teske, 284 F.3d 765, 772

 (7th Cir. 2002). Lewis's entitlement to punitive damages based on a violation of his First

 Amendment rights does not necessarily require proof of any actual, underlying

 compensatory injury or damages. Defendants' argument in favor of summary judgment due

 to Plaintiff's failure to establish any damages from his First Amendment deprivation

 therefore lacks any merit.

        4. Liability of the Private Defendants

        Under Section 1983, “[p]rivate persons, jointly engaged with state officials in the

 prohibited action, are acting ‘under color’ of law for purposes of the statute. To act ‘under

 color’ of law does not require that the accused be an officer of the State. It is enough that

 he is a willful participant in joint activity with the State or its agents.” United States v.

 Price, 383 U.S. 787, 794, 86 S.Ct. 1152, 16 L.Ed.2d 267 (1966)(internal quotations

 omitted). Our analysis here must distinguish between situations where a private citizen is

 acting in concert with a government actor and situations where a private citizen has merely

 provided information to the government actor. Simply supplying information to a police

 officer who then acts on his own initiative to arrest someone is not enough to establish that

 the private citizen’s action occurred under color of law. Butler v. Goldblatt Bros., Inc., 589

 F.2d 323, 327 (7th Cir. 1978). “In order to establish a conspiracy, the plaintiff must

 demonstrate that the state officials and the private party somehow reached an understanding


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 to deny the [plaintiff his] Constitutional rights.” Moore v. Marketplace Restaurant, Inc.,

 754 F.2d 1336, 1352 (7th Cir. 1985).

        The evidence in this case viewed in a light most favorable to Lewis, according to

 Bennett, shows that Bennett contacted the police to request that Lewis be removed from the

 sidewalk in front of the casino. However, according to Lewis, Bennett also threatened to

 have him arrested. Thus, Bennett might be found to have acted under color of law in

 concert with McCracken, giving rise to personal liability under Section 1983. Therefore,

 Bennett is not entitled to summary judgment on this basis.

        One final issue remains: is Bennett entitled to some form of qualified or other

 immunity for his actions? Though private citizens faced with a liability for a violation of

 Section 1983 are not entitled to qualified immunity, (Wyatt v. Cole, 504 U.S. 158, 112 S.Ct.

 1827, 118 L.Ed.2d 504 (1992)), the Supreme Court has left open the issue of whether such

 a private citizen is entitled to assert an affirmative defense of good faith. Id. at 169 (“we do

 not foreclose the possibility that private defendants faced with § 1983 liability . . . could be

 entitled to an affirmative defense based on good faith or probable cause.”). Again, our

 review of the relevant legal authorities reveals no Seventh Circuit cases allowing a good

 faith defense under these circumstances, and other circuits are split on the question of

 whether such a defense is available to a private citizen in a Section 1983 case. See Downs

 v. Sawtelle, 574 F.2d 1, 16 (1st Cir. 1978); Howerton v. Gabica, 708 F.2d 380, 385 n.10

 (9th Cir. 1983)(“there is no good faith immunity under section 1983 for private parties who

 act under color of state law to deprive an individual of his or her constitutional rights.”) ;

 but see Jordan v. Fox, Rothschild, O’Brien & Frankel, 20 F.3d 1250, 1276-77 (3rd Cir.


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 1994)(finding good faith defense existed for private individuals). Because the Supreme

 Court has not foreclosed the possibility of a good faith defense for private individuals in a

 Section 1983 action, we conclude that such a defense is available here to Bennett.

 Nonetheless, we concede that no small amount of confusion exists regarding the precise

 elements of a good faith defense. Some courts have determined that the only showing

 necessary is a subjective belief that one’s actions did not violate the Constitution. See e.g.

 Jordan, 20 F.3d at 1277. Other cases–ones which we find to be more persuasive--hold that,

 in order for a private individual to show good faith in a Section 1983 case, he must

 demonstrate that he had a subjective belief that his actions were constitutional and that that

 belief on his part was objectively reasonable. Palmer v. Garuti, 2009 WL 413129 at *7 (D.

 Conn. 2009); Trujillo v. City of Ontario, 428 F.Supp.2d 1094, 1116 n.17 (C.D. Cal. 2006)

 (explaining that a good faith defense with only a subjective component would allow an

 “ignorance of the law” defense which is disfavored.).

        Bennett’s good faith defense thus involves both a subjective and objective

 component. Accordingly, it is clear that he has failed to demonstrate at this early stage of

 the proceedings that he was, as a matter of fact and law, acting in good faith. Because the

 curtailment of Lewis's constitutional entitlements was not objectively reasonable, Bennett’s

 and the Resort’s Motion for Summary Judgment must be DENIED.

        B. Lewis’s 1985 Claims

        Lewis's final claim for relief is that Defendants’ actions amounted to a conspiracy

 under 42 U.S.C. § 1985(3). In order to demonstrate a civil conspiracy under Section

 1985(3), Lewis must show: (1) the existence of a conspiracy; (2) a purpose of depriving a


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 person or class of persons of equal protection of the law; (3) an act in furtherance of a

 conspiracy; and (4) an injury to person or property or a deprivation of a right or privilege

 granted to U.S. citizens. Hernandez v. Joliet Police Dept., 197 F.3d 256, 263 (7th Cir.

 1999). Under Section 1985, Lewis must show “some racial or perhaps otherwise class-

 based invidiously discriminatory animus” spawning defendants’ actions, and that the

 conspiracy was directed at interfering with rights that are constitutionally protected against

 both private and official encroachment. Majeske v. Fraternal Order of Police, Local Lodge

 No. 7, 94 F.3d 307, 311 (7th Cir. 1996). Class-based invidiously discriminatory animus has

 been interpreted to include animus based on a person's sex, religion, ethnicity, or political

 loyalty. Brokaw v. Mercer County, 235 F.3d 1000, 1024 (7th Cir. 2000).

        A careful review of the record before us discloses no evidence of any animus on the

 part of any defendant against Lewis based on Lewis’s sex, race, ethnicity, or political

 loyalty. Thus, the only other possible basis on which Lewis might be able to establish all of

 the elements of a cause of action under Section 1985(3) based on invidiously

 discriminatory animus is his religion. Consistent with our earlier discussion of Section

 1983, three of the elements of the Section 1985(3) claim (the existence of a conspiracy, an

 act in furtherance of that conspiracy, and a deprivation of Lewis’ First Amendment rights)

 have been established sufficiently for Lewis's claim of conspiracy to survive summary

 judgment. However, even when taken in a light most favorable to Lewis, there is no basis

 from which a reasonable inference could be drawn to establish that defendants acted out of

 an animus toward Lewis’s religion in curtailing his Constitutionally protected rights.

 Similarly, there is no evidence to substantiate a claim that defendants acted out of an


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 animus towards The Old Paths Baptist Church or towards Christianity or towards Lewis’s

 religious interpretations, in general. Even if the evidence sufficed to show that defendants

 were acting out of an animus towards Lewis's anti-homosexual, anti-gambling, anti-

 abortion message, those messages are not per se religious messages. To prevail on his

 Section 1985 claim, Lewis must be able to show the existence of an actual animus on the

 part of Defendant(s) toward his religion, not simply an animus towards a particular message

 that could be attributed to any one of many other possible sources.

        Having failed to adduce evidence sufficient to support this element of his Section

 1985 claim, it cannot survive. Defendants’ Motion for Summary Judgment on Lewis’s

 Section 1985 claim is therefore GRANTED.

                                          Conclusion

        As outlined above, Defendants J. Michael Bennett and French Lick Resorts &

 Casino, LLC’s Motion for Summary Judgment (Docket No. 38) in which McCracken

 joined is GRANTED in part and DENIED in part. Defendant Thomas McCracken’s

 Summary Judgment Motion (Docket No. 40) on the Section 1983 claim is DENIED on his

 additional claim of entitlement to qualified immunity. Plaintiff John Lewis’s claims based

 on 42 U.S.C. § 1983 survive the Defendants' Motions for Summary Judgment and remain

 for trial, but his claim based on 42 U.S.C. § 1985 is DISMISSED. Plaintiff’s Motion for

 Partial Summary Judgment (Docket No. 41) is GRANTED on his Section 1983 claim

 against McCracken, based on the violation of Lewis's First Amendment rights, and

 judgment shall enter accordingly as to liability, but the extent of Lewis’ damages, if any,

 remains for determination by a jury. Finally, McCracken’s Motion to Strike the Second


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 Affidavit of John Lewis (Docket No. 54) is GRANTED in part and DENIED in part, and

 the Resort’s Motion for Entry of Default Judgment on Resort’s Trespass Claim (Docket

 No. 62) is DENIED.

       SO ORDERED.




 Dated:   03/18/2011
                                                  _______________________________
                                                  SARAH EVANS BARKER, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana




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